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10
                                  UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-cv-05944-SC
14   ANTITRUST LITIGATION,
                                                             MDL No. 1917
15
                                                             ADMINISTRATIVE MOTION FOR
16   This Documents Relates To:                              ORDER ISSUING LETTER OF
                                                             REQUEST TO RESCHEDULE THE
17   ALL ACTIONS                                             DEPOSITION OF LEO MINK
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                                   Administrative Motion to Issue Second Letter of Request re: Leo Mink Deposition
                                                                                 (Master File No. CV-07-5944-SC)
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 1          Pursuant to Civil Local Rule 7.11, the Attorney General of the State of California on
 2   behalf of the State of California Plaintiffs, joined by the Direct Purchaser Plaintiffs, the Indirect
 3   Purchaser Plaintiffs, and the Direct Action Plaintiffs (hereafter “Plaintiffs”), hereby respectfully
 4   move this Court pursuant to Federal Rule of Civil Procedure 28(b)(1) and the Hague Convention
 5   for an order issuing a second letter of request to the relevant authorities in The Netherlands
 6   (“Letter of Request”) for the purpose of rescheduling the deposition of Leo Mink originally
 7   noticed for March 31 and April 1, 2014, in the city of Amsterdam in The Netherlands. Plaintiffs
 8   seek to reschedule the subject deposition to June 3-4, 2014, as set forth in the proposed new
 9   Letter of Request, amended Notice of Deposition and amended Subpoena accompanying the
10   proposed order granting this administrative motion.
11          Leo Mink is an ex-employee of the Philips defendants in this action, Koninklijke Philips
12   N.V. and Philips Electronics North America Corporation. The Philips defendants do not object
13   to this request to reschedule the subject deposition. See Declaration of Emilio E. Varanini
14   (“Varanini Decl.”) at ¶ 3.
15          On January 31, 2014, this Court issued the original letter of request to depose Mr. Mink
16   on March 31 and April 1, 2014. See id. Decl. at ¶ 4, Ex. A (Doc. # 2362). Thereafter, the
17   California Attorney General’s Office arranged for the delivery of the Court’s letter to the relevant
18   authorities in The Netherlands. See id. at ¶ 5. On February 10, 2014, an agent of the Attorney
19   General in The Netherlands delivered the Court’s letter to The Netherlands’ Central Authority.
20   See id. Decl. at ¶ 5. On February 24 and March 3, 2014, the Attorney General’s Dutch agent
21   visited the Central Authority’s office to obtain a status report on the Court’s letter of request and
22   was told that the letter was being processed. See id. Decl. at ¶ 5. But recent developments
23   necessitate the issuance of a second letter of request.
24          On March 21, 2014, the Attorney General’s Office learned that the Central Authority had
25   misplaced the Court’s original letter and thus, immediately prepared this administrative motion.
26   See id. Decl. at ¶ 6. The Attorney General’s Office learned that the Central Authority had placed
27   a call to the Dutch agent and informed her that the Court’s original letter had been misplaced and
28   asked for a new letter of request, which would be expedited in The Netherlands. See id. Decl. at ¶
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                                   Administrative Motion to Issue Second Letter of Request re: Leo Mink Deposition
                                                                                 (Master File No. CV-07-5944-SC)
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 1   6. Accordingly, Plaintiffs respectfully requests that the Court issue a new letter of request to the
 2   Central Authority. See id. Decl. at ¶ 7. Since it would be impossible to hold the deposition on the
 3   originally noticed dates of March 31 and April 1, 2014, Plaintiffs request that the deposition now
 4   take place on June 3-4, 2014. See id. Decl. at ¶ 7.
 5          Other than the new deposition dates, the new Letter of Request is identical to the original
 6   letter issued by the Court on January 31, 2014. See id. Decl. at ¶ 4, 8, Ex. A (Doc. # 2362). Like
 7   the Court’s issuance of the original letter, the issuance of this letter of request is an administrative
 8   act permitted by Civil Local Rule 7.11. The use of Civil Local Rule 7.11 is also justified by the
 9   urgency of this request in that the Letter of Request, if executed by this Court, must be promptly
10   delivered to the relevant authorities in The Netherlands so that Leo Mink may be deposed on June
11   3-4, 2014. See id. at ¶ 8.
12         For the foregoing reasons, the Attorney General of the State of California, joined by the
13   Direct Purchaser Plaintiffs, the Indirect Purchaser Plaintiffs, and the Direct Action Plaintiffs,
14   hereby requests a court order issuing the attached second Letter of Request.
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16   Dated: March 26, 2014                                   Respectfully submitted,
17                                                           KAMALA D. HARRIS
                                                             Attorney General of California
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                                                             ______/s/ Emilio Varanini______________
20                                                           EMILIO VARANINI
                                                             Deputy Attorney General
21                                                           Attorneys for the State of California
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                                   Administrative Motion to Issue Second Letter of Request re: Leo Mink Deposition
                                                                                 (Master File No. CV-07-5944-SC)
